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                   EXHIBIT C
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA,

        v.                                            Case No. 1:21-cr-00582
 MICHAEL A. SUSSMANN,

                Defendant.


DEFENDANT’S RESPONSE TO THE SPECIAL COUNSEL’S RULE 404(b) NOTICES
AND MOTION TO EXCLUDE CERTAIN EVIDENCE UNDER RULES 403 AND 404(b)

       Defendant Michael A. Sussmann, by and through his counsel, hereby responds to the

Special Counsel’s letters concerning “other acts” evidence proffered pursuant to Rule 404(b) and

moves to exclude several categories of evidence or argument contained therein. Specifically, this

Court should exclude evidence or argument regarding: (1) the gathering of data by Rodney Joffe,

and/or other data scientists, and fellow business personnel of Mr. Joffe (collectively “Mr. Joffe

and Others”); (2) the accuracy of the data gathered by Mr. Joffe and Others, and the conclusions

drawn therefrom; (3) anything other than Mr. Sussmann’s own relevant statements during a

February 9, 2017 meeting with Agency-2; (4) anything other than relevant statements made by Mr.

Sussmann during his December 2017 testimony before the House Permanent Subcommittee on

Intelligence (“HPSCI”); (5) anything other than the specific statements issued by Perkins Coie

LLP (“Perkins Coie”) and its Managing Partner in October 2018 or Mr. Sussmann’s statements

prompting them, if any; and (6) Mr. Sussmann’s purported failure to preserve certain text messages

from the relevant time period in violation of Perkins Coie policies.
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                                      INTRODUCTION

       The Special Counsel has charged a single count of 18 U.S.C. § 1001(a)(2) concerning

whether Mr. Sussmann was “acting on behalf of any client” when conveying information to then-

Federal Bureau of Investigation (“FBI”) General Counsel James Baker during a September 19,

2016 meeting. Indictment ¶ 27. And yet, the Special Counsel now seeks to introduce several

categories of “other acts” evidence pursuant to Federal Rule of Evidence 404(b) that have nothing

whatsoever to do with that charged false statement and, in some instances, nothing whatsoever to

do with Mr. Sussmann himself. Specifically, the Special Counsel wants to introduce: (1) evidence

as to how the data provided to the FBI and Agency-2 was gathered by Mr. Joffe and Others; (2)

evidence concerning the accuracy of that data and its analysis; (3) evidence concerning Mr.

Sussmann’s February 2017 meeting with Agency-2; (4) evidence concerning Mr. Sussmann’s

December 2017 HPSCI testimony; (5); evidence concerning statements issued by Perkins Coie

and its Managing Partner in October 2018; and (6) purported evidence that Mr. Sussmann failed

to preserve certain text messages in violation of Perkins Coie policies. J. Durham Letter to S.

Berkowitz at 2-4 (Mar. 23, 2022) [hereinafter “Supplemental Notice”].

       The defense does not object to the introduction of evidence of Mr. Sussmann’s statements

regarding his representation of a client to Agency-2 (category 3 above), during his HPSCI

testimony (category 4 above), or in connection with Perkins Coie’s statements to the media in

October 2018 (category 5 above). Nor does the defense object to the evidence that directly bears

on Mr. Sussmann’s state of mind regarding the data and conclusions he presented to the FBI or

Agency-2. What the defense does object to is the Special Counsel’s proposal to, once again,

overreach in this case.    The Special Counsel seeks to introduce evidence of purportedly

objectionable data gathering and overstated analysis of the data, even though Mr. Sussmann had

no involvement in—or awareness of—either; he seeks to introduce other purported false


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statements even though none were made; and he seeks to introduce evidence of “obstruction of

justice” based on a purported violation of Perkins Coie policy, even though there was no such

violation—a fact that the Special Counsel would have learned had he even bothered to obtain and

read the relevant policies in the first place.

        Such conduct is not properly admitted against Mr. Sussmann pursuant to Rule 404(b) or

Rule 403 for the reasons set forth below. To avoid creating a series of prejudicial and inflammatory

sideshows, the Special Counsel must be precluded from his attempted overreach: the Special

Counsel should be forced to keep the focus of the trial where it belongs—on the single false

statement that he has actually charged.

                                          BACKGROUND

        This Court’s pretrial order could not have been clearer: the Special Counsel was required

to provide notice of any Rule 404(b) evidence he seeks to introduce by March 18. See Dkt. No.

30 at 2-3. On that deadline, the Special Counsel provided Mr. Sussmann with brief notice of his

intention to offer four types of evidence pursuant to Rule 404(b)—evidence concerning Mr.

Sussmann’s February 2017 meeting with Agency-2; evidence concerning Mr. Sussmann’s

voluntary testimony before HPSCI in December 2017; evidence concerning certain statements

made by Perkins Coie in October 2018; and evidence that Mr. Sussmann failed to preserve certain

text messages, in violation of Perkins Coie policies. J. Durham Letter to S. Berkowitz (Mar. 18,

2022) [hereinafter “Original Notice”]. But the Special Counsel did not provide any justification

as to why this evidence was admissible, as Rule 404(b) requires.

        Five days after the Court’s deadline had passed, the Special Counsel sent a “Supplemental

Notice” to Mr. Sussmann. Amazingly, this improper Supplemental Notice for the first time

provided the requisite justification for the four categories of Rule 404(b) evidence listed in the

Original Notice. And the Supplemental Notice went on to alert Mr. Sussmann to two new


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categories of Rule 404(b) evidence that the Special Counsel apparently seeks to introduce—

evidence as to how the data provided to the FBI and Agency-2 was gathered by Mr. Joffe and

Others, and evidence concerning the accuracy of that data and its analysis. See Suppl. Notice at 2.

The Special Counsel’s Office did not bother to give any excuse for its untimely actions or its

violation of the Court’s order.

       Read together, the Special Counsel’s timely and untimely notices indicate that the he

intends to introduce six categories of evidence as direct evidence or, in the alternative, as “other

act” evidence pursuant to Rule 404(b).

       First, the Special Counsel seeks to introduce evidence of the manner in which Mr. Joffe

and Others gathered the purported data underlying the information concerning Alfa Bank and

Russian phones on Trump-related computer networks, among others (the “YotaPhone

Information”). Id. He claims that the way in which Mr. Joffe and Others gathered the data suggests

that it was “obtained in a manner that may be considered objectionable,” including “through

invasions of privacy, breaches of contract, or other unlawful or unethical means.” Id. However,

the Special Counsel offers no evidence whatsoever that Mr. Sussmann was involved in these

data gathering efforts. Nonetheless, the Special Counsel claims that these data gathering efforts—

conducted by Mr. Joffe and Others alone—proves a shared plan between Mr. Sussmann, Mr. Joffe,

“and/or the Clinton Campaign to collect and disseminate materials . . . that they believed would

prompt negative scrutiny of Trump.” Id. Further, he suggests that evidence as to how the data

was gathered may be relevant to prove “preparation” for Mr. Sussmann’s dissemination of the

allegations; or a “motive” to mislead the FBI and others about the manner in which the data was

gathered. Id.




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       Second, the Special Counsel seeks to introduce evidence as to the accuracy of both the data,

and the conclusions drawn therefrom, that Mr. Sussmann provided to the FBI and Agency-2. See

id. (claiming that the data underlying the allegations may have been “spoofed” and that the white

papers may have been “misstated, overstated, and/or cherry-picked”). The Special Counsel

suggests that this evidence is indicative of a “plan,” but fails to provide any explanation as to why

any “plan” regarding the accuracy of the data and its analysis is relevant to the only plan that would

matter—a plan implicating the charged conduct, namely a false statement to Mr. Baker as to who

Mr. Sussmann’s clients were.       In any event, this evidence appears to rest exclusively on

communications sent by Mr. Joffe and certain emails between researchers, and there is no evidence

that Mr. Sussmann (or the Clinton Campaign for that matter) was privy to or aware of such

evidence. Id. Even so, the Special Counsel seeks to admit this evidence as to the accuracy or

inaccuracy of the data pursuant to Rule 404(b) to purportedly show the existence of a “plan”; Mr.

Sussmann’s intent to disseminate materials on behalf of certain clients; a motive to mislead the

FBI; and Mr. Sussmann’s “knowledge” as to the accuracy or inaccuracy of the data.1 Id. at 3.

       Third, the Special Counsel seeks to introduce evidence of a “similar set of allegations” and

a “substantially similar false statement” related to a February 9, 2017 meeting between Mr.

Sussmann and Agency-2 employees. Original Notice at 2. That meeting came about after Mr.

Sussmann met with an Agency-2 contractor, Mark Chadason, and told Mr. Chadason that he

represented a client, Mr. Joffe, who wanted to provide the YotaPhone Information to Agency-2,




1
  The Special Counsel has also indicated that he will seek to have evidence as to how the data was
gathered, as well as evidence concerning the purported accuracy of the data and its analysis,
admitted as direct evidence, which Mr. Sussmann contests separately. See Def. Mot. in Lim. to
Preclude Evid. Regarding Gathering of Data, Accuracy of Data or its Analysis, or the Steele
Dossier and to Strike Same (Apr. 4, 2022) [hereinafter “Defendant’s Motion in Limine Regarding
the Data or Steele Dossier”].


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which Mr. Sussmann believed had clear national security implications. Ultimately, as alleged, Mr.

Sussmann met with the Agency-2 personnel, provided them with the YotaPhone Information as

well as updated Alfa Bank Information, and informed them that “that he was not representing a

particular client in providing the allegations to Agency-2.” Original Notice at 2.

       The Special Counsel seeks to admit that statement at trial. Id. As discussed above, the

Special Counsel also seeks to admit evidence regarding the gathering of the data and its accuracy

and analysis. And moreover, in its Supplemental Notice the Special Counsel announced for the

first time that he also apparently seeks to introduce an additional statement purportedly made at

the February 2017 meeting, namely that Mr. Sussmann “told Agency-2 personnel, in substance

and in part, that he had brought information to the FBI on a similar but ‘unrelated’ matter, referring

to the [Alfa Bank] allegations.” Suppl. Notice at 3. The Special Counsel claims this evidence is

admissible pursuant to Rule 404(b) to support an inference of an “intent” and “plan” to deceive

Agency-2. Id. at 3-4.

       Fourth, the Special Counsel seeks to introduce evidence regarding Mr. Sussmann’s

voluntary testimony before HPSCI in December 2017. During that testimony, in response to a

question from a member of Congress as to whether it was correct that “your client directed you to

have these engagements with the FBI and [Agency-2] and to disseminate the information that

client provided you,” Mr. Sussmann explained

               Well, I apologize for the double negative. It isn’t not correct, but
               when you say my client directed me, we had a conversation, as
               lawyers do with their clients, about client needs and objectives and
               the best course to take for a client. And so it may have been a
               decision that we came to together. I mean, I don’t want to imply
               that I was sort of directed to do something against my better
               judgment, or that we were in any sort of conflict, but this was – I
               think it’s most accurate to say it was done on behalf of my client.




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Interview Tr. of M. Sussmann at 66-67, Exec. Session of HPSCI (Dec. 18, 2017). The Special

Counsel now seeks to introduce that testimony where Mr. Sussmann “a[c]knowledged bringing

the allegations to the FBI and Agency-2 on behalf of a specific client, namely Tech Executive-1.”

Original Notice at 2. However, the Special Counsel also seeks to introduce evidence and argument

that Mr. Sussmann’s HPSCI “testimony is at best misleading insofar as it failed to disclose that

the defendant billed work on the allegations to the Hillary Clinton Campaign.” Id. The Special

Counsel claims that such evidence is admissible pursuant to Rule 404(b) to show motive,

knowledge, intent, and plan, as to “a consistent pattern of seeking to obscure the Clinton

Campaign’s role as a beneficiary of, and billed party for, the Russian Bank-1 allegations.” Suppl.

Notice at 4. However, the Special Counsel does not identify a single question asked during Mr.

Sussmann’s testimony that would have called for a response concerning the Clinton Campaign.

       Fifth, the Special Counsel seeks to introduce statements to the media concerning Mr.

Sussmann’s September 2016 meeting with Mr. Baker, which were drafted and issued by Mr.

Sussmann’s former law firm, Perkins Coie, and its then-Managing Partner. Original Notice at 2.

Those statements were prompted by speculative and misleading media coverage making baseless

allegations against Mr. Sussmann, including, among other things, that the information Mr.

Sussmann provided to Mr. Baker was used when the government sought an order for electronic

surveillance of Carter Page pursuant to the Foreign Intelligence Surveillance Act (“FISA”), and

that Mr. Sussmann was the “point man” for Perkins Coie’s Democratic National Committee

(“DNC”) and Clinton Campaign accounts.2 In response to this erroneous reporting, both Perkins

Coie and its Managing Partner issued statements in an attempt to provide needed clarification that



2
 See, e.g., Kimberly A. Strassel, Who is Michael Sussmann?, Wall St. J. (Oct. 11, 2018 7:03 PM),
https://www.wsj.com/articles/who-is-michael-sussman-
1539299003?mod=journal_lists_kimberley-a-strassel_the-sussmann-case.


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Mr. Sussmann’s meeting with Mr. Baker was “not connected to the firm’s representation of the . .

. Clinton Campaign, the DNC or any Political Law Group client” and “on behalf of a client with

no connections to either the Clinton campaign, the DNC or any other Political Law Group Client.”

Id.

       Nevertheless, the Special Counsel seeks to introduce evidence of these statements pursuant

to Rule 404(b) to prove “motive” and “intent” to “conceal[] . . . the involvement of politically

motivated parties in his work on the [Alfa Bank] allegations.” Suppl. Notice at 4. The Special

Counsel also suggests that these Perkins Coie statements purportedly show Mr. Sussmann’s

knowledge, intent, and plan as to a “consistent pattern of seeking to obscure the Clinton

Campaign’s role as a beneficiary of, and billed party for, the [Alfa Bank] allegations.” Id.

       Sixth and finally, the Special Counsel seeks to introduce evidence that Mr. Sussmann

purportedly failed to preserve certain text messages that he exchanged with Mr. Baker using his

personal device, as was purportedly required by Perkins Coie record retention policies. As the

Special Counsel is aware, Mr. Sussmann had not retained the text messages in question—which

contain exculpatory information—because he replaced the personal cellphone he used to send

them and does not store his personal text messages on the cloud. Nevertheless, the Special Counsel

argues that this was a violation of Perkins Coie policy. However, when asked to identify or

produce which specific Perkins Coie policies addressed Mr. Sussmann’s retention of these text

messages, the Special Counsel was unable to do so. Instead, the Special Counsel disclosed that he

did not have copies of the relevant firm policies when he made the allegation.

       Subsequently, the defense issued a subpoena to Perkins Coie; obtained the relevant

policies; and confirmed that none of those policies addressed text messages, let alone required

their preservation. Instead, those policies—which govern the “retention and destruction” of client




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records—make clear that only significant client communications must be retained, and that

electronic communications concerning scheduling do not satisfy the relevant definition of

“significant communication.”

       Despite lacking evidence that Mr. Sussmann violated any Perkins Coie record retention

policies, the Special Counsel seeks to admit evidence of Mr. Sussmann’s purported noncompliance

pursuant to Rule 404(b) to show Mr. Sussmann’s purported knowledge that these routine text

messages were incriminating and that he had a motive to conceal them in order to obstruct justice.

Suppl. Notice at 4.

                                      LEGAL STANDARD

       Federal Rule of Evidence 404(b)(1) provides that “[e]vidence of any other crime, wrong,

or act is not admissible to prove a person’s character in order to show that on a particular occasion

the person acted in accordance with the character.”3 Under subsection (b)(2), such “other act”

evidence is only admissible for another purpose. See id. at 404(b)(2). The Special Counsel bears

the burden of identifying an admissible purpose for which any “other act” testimony or evidence

can be used. United States v. Hernandez, 780 F.2d 113, 118 (D.C. Cir. 1986).

       In addition, evidence of other acts may only be admitted “subject to proof from which a

jury reasonably could conclude by a preponderance of the evidence that the defendant committed

the [acts].” United States v. Straker, 567 F. Supp. 2d 174, 179 n.4 (D.D.C. 2008), aff’d, 800 F.3d

570 (D.C. Cir. 2015) (per curiam); see also United States v. Ruffin, 40 F.3d 1296, 1298 (D.C. Cir.

1994) (“[A] court may conditionally admit ‘other crimes’ evidence subject to proof from which



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 This “[s]o-called ‘propensity’ evidence is excluded not because it is irrelevant, but because ‘it is
said to weigh too much with the jury and to so overpersuade them as to prejudge one with a bad
general record and deny him a fair opportunity to defend against a particular charge.’” United
States v. Appiah, 2020 WL 3469688, at *6 (D.D.C. June 25, 2020) (quoting Michelson v. United
States, 335 U.S. 469, 475-76 (1948)).


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the jury reasonably could conclude, by a preponderance of the evidence, that the defendant

committed the other crimes” and “when evidence is admitted subject to proof of connection, and

the proponent of the evidence fails to adduce such proof, ‘the trial court must instruct the jury to

disregard the evidence.’” (citation omitted)); United States v. Griggs, 2004 U.S. Dist. LEXIS

23695, at *4-5 (S.D.N.Y. Nov. 23, 2004) (“In Huddleston, the Supreme Court held that the trial

court is required to make preliminary determination as to whether the jury could reasonably find

by a preponderance of the evidence that the alleged prior act did, in fact, occur.” (citation omitted));

United States v. Caesar, 2022 U.S. Dist. LEXIS 14722, at *18 (E.D. Pa. Jan. 27, 2022) (“In order

to admit evidence of a prior act under . . . Rule 404(b), there must be evidence from which a jury

could find by a preponderance of evidence that the prior act occurred.”).

       Finally, even where Rule 404(b) evidence may be relevant, a court must exclude it if “the

probative value of that evidence [is] outweighed [by] its prejudicial effect under Federal Rule of

Evidence 403.” Hernandez, 780 F.2d at 118.

                                            ARGUMENT

       As a preliminary matter, the Special Counsel has violated this Court’s order and failed to

provide timely and complete notice of Rule 404(b) evidence. See Dkt. No. 30. Specifically in his

Original Notice, the Special Counsel simply identified four categories of potential Rule 404(b)

evidence, but did not, as required, provide justification for the admission of that evidence. See

Fed. R. Evid. 404(b)(3) (mandating that “the prosecutor must . . . provide reasonable notice of any

such evidence that the prosecutor intends to offer at trial, so that the defendant has a fair

opportunity to meet it” and “articulate in the notice the permitted purpose for which the prosecutor

intends to offer the evidence and the reasoning that supports the purpose”).

       Instead, the purported justifications for those four categories of evidence came five days

later, on March 23, in an untimely Supplemental Notice. Further, the Supplemental Notice for the


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first time sought to introduce two additional categories of evidence pursuant to Rule 404(b), neither

of which was mentioned in the timely Original Notice that was submitted on this Court’s March

18 deadline. The Special Counsel’s inability to fully comply with that deadline and his failure to

even acknowledge his untimely and incomplete Rule 404(b) notice, is grounds alone to reject it.

See United States v. Vega, 188 F.3d 1150, 1153 (9th Cir. 1999) (“Failure to provide notice or

obtain an excuse from the district court, renders the other acts evidence inadmissible, whether the

evidence is used in the prosecution’s case-in-chief or for impeachment.”).

       Although the Special Counsel’s Rule 404(b) notices are procedurally infirm, Mr. Sussmann

does not object to the admissibility of certain discrete statements identified in them. However, the

majority of the purported “other act” evidence identified by the Special Counsel has virtually

nothing whatsoever to do with Mr. Sussmann, let alone the charged conduct, and therefore does

not implicate Rule 404(b).4

       And, even if that evidence were somehow technically admissible pursuant to Rule 404(b),

its admission would inflame and prejudice the jury and necessitate extensive rebuttal evidence

from Mr. Sussmann, causing multiple mini-trials that would result in a significant and unnecessary

waste of this Court’s, and the jury’s, time. As explained in further detail below, such evidence



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 Moreover, in several instances the Special Counsel baldly claims that the proffered evidence may
be admitted “as ‘other act’ evidence pursuant to Federal Rule of Evidence 404(b) to prove the
defendant’s motive, intent, plan, and absence of mistake or accident,” see, e.g., Original Notice at
1; Suppl. Notice at 2, but merely parroting the language of the rule is insufficient to provide notice.
See, e.g., United States v. Edwards, 540 F.3d 1156, 1163-64 (10th Cir. 2008) (expressing
disapproval where “the government simply asserted without explanation or analysis that the
convictions were being offered ‘to prove the defendant’s intent in the current case, to prove his
knowledge, to prove his motive in this case, to prove that there was no mistake or accident’” and
holding that the lower court “abused its discretion by admitting this [Rule 404(b)] evidence”
pursuant to such “unsupported assertions” by the government “that the evidence was obviously
relevant for all of these purposes” (citation omitted)). Thus, Mr. Sussmann should only have to
respond to evidence for which the Special Counsel has at least attempted to articulate a “permitted
purpose . . . and the reasoning that supports th[at] purpose” as Rule 404(b)(3) requires.


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must be excluded unless it directly relates to Mr. Sussmann’s own statements or his state of mind

at the relevant time.

       A.         Evidence Concerning the How the Data Was Gathered is Not Admissible
                  under Rule 404(b) or Rule 403.

       The Special Counsel seeks to admit evidence as to how the data provided to both the FBI

and Agency-2 was gathered by Mr. Joffe and Others, including that these efforts occurred “in a

manner that may be considered objectionable—whether through invasions of privacy, breaches of

contract, or other unlawful or unethical means,” as direct evidence of the charged conduct. Suppl.

Notice at 2. Putting aside that these allegations are wrong and the defense unreservedly disputes

them, any evidence or argument that the Special Counsel seeks to offer are, as explained in greater

detail in Mr. Sussmann’s Motion in Limine, utterly irrelevant to the single false statement charged

in this case and thus direct evidence of nothing. See Def. Mot. in Lim. Regarding the Data or

Steele Dossier.

       In the alternative, the Special Counsel claims that evidence of how the data was gathered

is admissible pursuant to Rule 404(b) to show, among other things, Mr. Sussmann’s “motive,

intent, preparation, plan, and absence of mistake or accident.” Suppl. Notice at 2. We address this

meritless claim here.

       First and most importantly, the fundamental problem with the Special Counsel’s proposal

is that the Special Counsel has not made any allegation—nor is there any evidence—that Mr.

Sussmann had any involvement in the gathering of such data. And it is axiomatic that “[t]he

language of Rule 404(b) does not apply to crimes, wrongs, or acts of another person.” United

States v. Taylor, 701 F.3d 1166, 1172 (7th Cir. 2012). Thus, “in order to trigger the application of

Rule 404(b) there must be an allegation that the extrinsic offense was committed by the defendant.”

United States v. Krezdorn, 639 F.2d 1327, 1333 (5th Cir. 1981); see also United States v. Beechum,



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582 F.2d 898, 912-13 (5th Cir. 1978) (analyzing Rule 404(b) and explaining that “as a predicate

to a determination that the extrinsic offense is relevant, the government must offer proof

demonstrating that the defendant committed the offense. If the proof is insufficient, the judge must

exclude the evidence because it is irrelevant.”).

       Here, the Special Counsel has offered no evidence whatsoever linking Mr. Sussmann to

the gathering of the data provided to either the FBI or Agency-2, both of which exclusively

implicate the actions and communications of uncharged third parties. Thus, it is manifestly

improper for such evidence to be admitted against Mr. Sussmann pursuant to Rule 404(b) and this

Court must exclude it. See United States v. Long, 328 F.3d 655, 660 (D.C. Cir. 2003) (“Evidence

of similar acts [offered pursuant to Rule 404(b)] must . . . be sufficient to support a jury finding

that the defendant committed the other crime or act.”).

       Second, that fatal flaw also underscores why the Special Counsel’s arguments that the

evidence is relevant to prove Mr. Sussmann’s “preparation” and “motive” are fanciful. Again,

there is no indication whatsoever that Mr. Sussmann had anything to do with how the data was

gathered, much less how it was assembled or whether there was any purported impropriety as to

the manner in which Mr. Joffe and Others gathered the data. Absent that factual predicate, Caesar,

2022 U.S. Dist. LEXIS 14722, at *18-19, this evidence cannot be admitted pursuant to Rule 404(b)

to show Mr. Sussmann’s “preparation” or “motive.”

       Third, there is no merit to the Special Counsel’s argument that the manner in which the

data was gathered by Mr. Joffe and Others is permissible under Rule 404(b) to prove the existence

of a shared “plan” between Mr. Sussmann, Mr. Joffe, and the Clinton Campaign. Suppl. Notice at

3. That argument is nonsensical. Indeed, in order to be properly admitted as evidence of a “plan”

under Rule 404(b), the evidence must be indicative of a common scheme to commit the charged




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crime.    See, e.g., United States v. Qin, 688 F.3d 257, 264 (6th Cir. 2012) (rejecting the

government’s proffered Rule 404(b) evidence because the charges at issue were “not so broad” as

the sweeping “common scheme or plan” alleged by the prosecution, and “[b]y generalizing in this

manner, the government increases the risk that the jury will interpret the 404(b) evidence in

precisely the manner that the rule is intended to prohibit”).

         Here, the Special Counsel has charged Mr. Sussmann with making a false statement to Mr.

Baker about his clients in September 2016; the Special Counsel has not charged Mr. Sussmann

with a scheme to defraud. The Special Counsel does not even attempt to explain how the

data gathering efforts of third parties—conducted both before and after the September 2016

meeting and, indeed, after the 2016 election—can prove a shared plan for Mr. Sussmann to falsely

tell Mr. Baker that he was not acting on behalf of a client.5 Nor does the Special Counsel provide

any evidence that Mr. Sussmann or the Clinton Campaign had any involvement in those

data gathering efforts anyway. As a result, there simply is no way in which those data gathering

efforts could implicate a shared plan for Mr. Sussmann to make a false statement about his clients

when meeting with Mr. Baker. These baseless allegations are inadmissible pursuant to Rule 404(b)

and this evidence must be rejected. See, e.g., W. All. Bank v. Jefferson, 2016 U.S. Dist. LEXIS

59477, at *12-13 (D. Ariz. May 3, 2016) (rejecting 404(b) “plan” evidence because “[t]o be

properly admissible under Rule 404(b) . . . there must be some overall scheme of which each of

the [acts] is but a part” (citation omitted)); Caesar, 2022 U.S. Dist. LEXIS 14722, at *18 (“In order

to admit evidence of a prior act under . . . Rule 404(b), there must be evidence from which a jury

could find by a preponderance of evidence that the prior act occurred.”).



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  Nor can he explain why this plan would be for Mr. Sussmann to conceal that he was acting on
behalf of a client but nonetheless disclose to Mr. Baker that the “objectionably gathered”
information came from cyber experts.


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       Finally, even if this Court were to determine that such evidence, even if true, may somehow

fall within the ambit of Rule 404(b), it should be excluded as significantly more prejudicial than

probative pursuant to Rule 403. It is clear that the Special Counsel’s purpose in proffering the

data gathering evidence is to besmirch Mr. Sussmann with the acts of other individuals with

whom—apart from Mr. Joffe—Mr. Sussmann had virtually no interaction or communication. But

such evidence would confuse and mislead the jury; unfairly prejudice Mr. Sussmann by associating

him with the acts of individuals who were wholly unaware of him, and he of them; and waste

valuable trial time on collateral, technically-complex issues completely untethered from the single

charged false statement. See generally Def. Mot. in Lim. Regarding Data or Steele Dossier.

       B.      Evidence Concerning the Accuracy of the Data and its Analysis is Not
               Admissible Under Rule 404(b) or Rule 403.

       The Special Counsel’s Supplemental Notice indicates that he also seeks to introduce

evidence “concerning the strength and reliability (or lack thereof) of the purported data and

allegations” provided to both the FBI and Agency-2. Suppl. Notice at 2. And while the Special

Counsel seemingly represented to this Court that he had no intention of adducing evidence or

making arguments that the data was inaccurate, Hr’g Tr. at 41:5-42:14 (Mar. 31, 2022), the Special

Counsel nevertheless persists in reserving the right to have witnesses—including an expert—

testify that (1) the data that Mr. Sussmann provided was inaccurate; and (2) that the analysis and

conclusions drawn from that data were inaccurate.6 As explained in the Defendant’s Motion in



6
  Indeed, the Special Counsel recently informed the defense that he intends to introduce testimony
from personnel employed by companies who hosted or processed data for the Trump Organization
regarding their views on the accuracy of the data and the conclusions drawn therefrom. Such
testimony is manifestly improper. Third party lay witness testimony as to irrelevant and complex
evidence, unconnected in any way to the defendant’s knowledge is irrelevant; it carries with it a
substantial risk of prejudice; and it runs afoul of the prohibition on lay witnesses testifying as to
their opinion or conclusions. See, e.g., Barillas v. City of L.A., 2021 U.S. Dist. LEXIS 194094, at
*16 (C.D. Cal. Apr. 12, 2021) (“The jury may also be unduly influenced by negative feelings


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Limine Regarding the Data or Steele Dossier, any such evidence or argument concerning the

accuracy of the data or the conclusions drawn therefrom is utterly irrelevant to the single false

statement charged in this conduct; direct evidence of nothing; and must be rejected.

       In the alternative, the Special Counsel moves to admit evidence regarding the accuracy of

the data or the conclusions drawn therefrom pursuant to Rule 404(b). However, the Special

Counsel’s proposed rationale for doing so is similarly meritless.

       First, to repeat a familiar refrain: every single one of the Rule 404(b) purposes offered by

the Special Counsel fails due to one fundamental problem—evidence concerning third parties does

not and cannot satisfy Rule 404(b). Simply put, the Special Counsel has identified no evidence

whatsoever indicating that the data was anything but accurate, or that Mr. Sussmann, a lawyer and

not a data expert, knew, or should have known, that there were any issues with either the data or

the conclusions drawn therefrom. Instead, when questioning the accuracy of the data or its

analysis, all the Special Counsel can point to are communications between Mr. Joffe and Others,

communications that Mr. Sussmann, plainly from the face of the communications, did not receive.7

And of course, such communications can be of no moment where the Special Counsel has provided

no indication that Mr. Sussmann was even aware of them, let alone a participant in them. As such,




toward[s] this kind of [evidence] and make a decision based on emotion or another improper basis.
Accordingly, the Court will exclude [the] evidence . . . .” (citation omitted)); see also Final Jury
Instructions at 9, United States v. Shi, No. 17-cr-110 (CRC) (D.D.C. July 24, 2019), ECF No. 252
[hereinafter “Cooper Jury Instructions”] (“[A] witness may not testify as to his or her opinions or
conclusions.”).
7
  Specifically, the Special Counsel claims that “[Mr. Joffe] and his associates expressed varying
views over time concerning the truth or falsity of the [Alfa Bank] allegations and other, related
allegations” and that “other researchers discussed the possibility that the data may have been
‘spoofed’” or otherwise misstated, overstated, or cherry-picked. Suppl. Notice at 2. But Mr.
Sussmann was not included on any of the underlying communications the Special Counsel is
referring to, and his Rule 404(b) notice provides no evidence whatsoever that Mr. Sussmann was
even aware of those communications. See id.


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this evidence falls outside the scope of Rule 404(b) and must be excluded. See, e.g., United States

v. Gonzalez-Sanchez, 825 F.2d 572, 582 n.25 (1st Cir. 1987) (“Inasmuch as this evidence does not

concern past criminal activity of [the defendant], Rule 404(b) is inapplicable.”); United States v.

Edwards, 696 F.2d 1277, 1280-81 (11th Cir. 1983) (explaining that “Rule 404(b) is not implicated”

where other “offenses were not alleged or shown to have been committed by [the defendant]”).

       Nor does Rule 404(b) allow the introduction of evidence of the plan that the Special

Counsel has identified in his notice—a plan “to disseminate purportedly derogatory materials

about a Presidential candidate during an election season.” Suppl. Notice at 3. Putting aside that,

as a factual matter, there was no plan along the lines suggested by the Special Counsel, this

purported plan is not the crime that the Special Counsel has charged, which hinges solely on

whether Mr. Sussmann made a false statement to Mr. Baker regarding whether he was providing

Mr. Baker with information on behalf of a client. To satisfy Rule 404(b)’s requirements, any

alleged “plan” would have to implicate a plan for Mr. Sussmann to lie about his clients. See, e.g.,

Qin, 688 F.3d at 264. There is no evidence whatsoever that third party perceptions as to the

accuracy of the data or its analysis had anything to do with any plan to conceal whether or not Mr.

Sussmann was acting on behalf of a client.

       Second, even if the Special Counsel could articulate a coherent rationale for admitting such

evidence pursuant to Rule 404(b)—and he has not and cannot—the evidence would still have to

be excluded under Rule 403. Here, the Special Counsel has not alleged—nor is there any

evidence—that Mr. Sussmann believed or had any reason to believe there was any issue with the

accuracy of the data or the accuracy of the conclusions or analysis drawn from that data, or that he

even had the necessary technical ability to make such evaluations. Absent such allegations, even

if this evidence were somehow admissible pursuant to Rule 404(b)—and it is not—it cannot pass




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muster under Rule 403 because it is irrelevant. None of this evidence goes to Mr. Sussmann’s

state of mind in relation to the charged crime. It is elementary that a court must exclude evidence

when “the probative value of that evidence [is] outweighed [by] its prejudicial effect under Federal

Rule of Evidence 403.” Hernandez, 780 F.2d at 118. Simply put, evidence as to the data’s

accuracy would confuse and mislead the jury; unfairly prejudice Mr. Sussmann by associating him

with third party beliefs that he had no awareness of; and waste valuable trial time on collateral,

technically-complex issues untethered from the actual charge—harms which are particularly

pronounced as that evidence has no probative value as to Mr. Sussmann.

       At bottom, any evidence as to the accuracy or inaccuracy of the data provided to both the

FBI and Agency-2—or its analysis—does not satisfy the requirements of Rule 404(b) or Rule 403

and should be rejected.

       C.      The Court Should Preclude any Agency-2 Evidence or Argument Aside from
               Mr. Sussmann’s Own Relevant Statements.

       The Special Counsel seeks to introduce evidence, pursuant to Rule 404(b), that during “his

meeting with Agency-2 employees, [Mr. Sussmann] made a substantially similar false statement

as he had made to [Mr.] Baker,” namely “that he was not representing a particular client in

providing the allegations to Agency-2.” Original Notice at 1-2. Though Mr. Sussmann disagrees

with the Special Counsel’s characterization and spin,8 Mr. Sussmann does not object to the


8
  As a preliminary matter, the Special Counsel asserts that this statement—which occurred during
a meeting primarily focused on different allegations— is “direct evidence” of the charge against
Mr. Sussmann. But he provides no explanation as to how a statement made in February 2017
could be direct evidence of anything that happened at a meeting with Mr. Baker that occurred five
months earlier.
Moreover, the Special Counsel’s claim that the statement is evidence of a shared plan involving
Mr. Sussmann, Mr. Joffe, and the Clinton Campaign to conceal the identity of his clients is
nonsensical. For one thing, the Special Counsel simply ignores the fact that by the time of Mr.
Sussmann’s meeting with Agency-2, the 2016 Presidential Election was over and the Clinton
Campaign had been inactive for months. It simply cannot be that a statement made at a meeting


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introduction of that discrete statement.9 Moreover, Mr. Sussmann reserves the right to introduce

evidence contradicting the Special Counsel’s assertions, and indeed at trial anticipates introducing

evidence which will show that he clearly informed Agency-2 personnel that he was providing the

allegations on behalf of his client, Mr. Joffe.

       But troublingly, the Special Counsel does not just want to introduce a statement concerning

Mr. Sussmann’s client. Instead, he wants to introduce additional evidence regarding the Agency-

2 meeting, including evidence as to the manner in which the data underlying the “similar set of

allegations” was gathered, that data’s accuracy, and the accuracy of the conclusions drawn

therefrom. See, e.g., Original Notice at 2; Suppl. Notice at 2-3. But as explained above and in the

Defendant’s Motion in Limine Regarding the Data or Steele Dossier, any evidence as to how the

underlying data was gathered, or the accuracy of that data or its analysis, solely implicates the

conduct of Mr. Joffe and Others and has absolutely nothing to do with the substance of what Mr.

Sussmann said to Mr. Baker about his clients during their September 2016 meeting. Thus, this




months after an election’s conclusion supports the existence of a plan involving one of the
campaigns. See Jankins v. TDC Mgmt. Corp., 21 F.3d 436, 441 (D.C. Cir. 1994) (allegedly similar
act that follows the one in dispute “weakens the link” between the two, because “[p]rojection of
an evil purpose backward in time seems weaker than inferring its continuation”); United States v.
Watson, 894 F.2d 1345, 1349 (D.C. Cir. 1990) (“The temporal (as well as the logical) relationship
between a defendant’s later act and his earlier state of mind attenuates the relevance of such proof
. . . .”). For another, as discussed above, there is simply no evidence of any such plan and thus the
Special Counsel cannot satisfy his threshold burden of proffering this evidence to show a shared
plan. See, e.g., Straker, 567 F. Supp. 2d at 179 n.4 (Evidence of other acts may only be admitted
“subject to proof from which a jury reasonably could conclude by a preponderance of the evidence
that the defendant committed the [acts].”).
9
 Of course, the admission of this evidence is subject to this Court’s determination that the Special
Counsel has otherwise met his burden in proving that those statements are properly authenticated
and otherwise admissible under the Federal Rules of Evidence.


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evidence must be rejected as both irrelevant and prejudicial,10 see Def. Mot. in Lim. Regarding the

Data or Steele Dossier, and inadmissible pursuant to Rule 404(b).

       Nor should the Special Counsel be permitted to offer argument, raised for the first time in

his Supplemental Notice, that Mr. Sussmann made an additional false statement to Agency-2.

Specifically, the Special Counsel suggests that when meeting with Agency-2, Mr. Sussmann stated

that “he had brought information to the FBI on a similar, but ‘unrelated’ matter.” Suppl. Notice at

3. According to the Special Counsel, this statement “was false and/or misleading because

information regarding the [Alfa Bank] allegations was among the materials . . . provided to

Agency-2, and . . . therefore was not ‘unrelated.’” Id. This is preposterous and another example

of the Special Counsel’s attempts to overreach in this matter. For one thing, it is clear from the

drafts of the memorandum of Mr. Sussmann’s meeting with Agency-2 that when Mr. Sussmann

said he gave information to the FBI that was similar but unrelated to the information he gave

Agency-2, he was referring to the YotaPhone Information—meaning he gave the FBI information

that was similar but unrelated to the YotaPhone Information. See Mem. for Rec. at SCO-3500U-

018096-98 (Feb. 9, 2017).      The Special Counsel simply has no evidence beyond his own

assertion—divorced from context and reality—that Mr. Sussmann’s purported statement was in

fact false, and therefore cannot even meet its burden of proof in showing that any such “false

statement” occurred, Caesar, 2022 U.S. Dist. LEXIS 14722, at *18-19. Additionally, even if the

Special Counsel is factually correct—and he is not—Mr. Sussmann’s statement to Agency-2 has

no bearing on the charged crime, i.e., whether Mr. Sussmann falsely told the FBI—five months

before the Agency-2 meeting—that he was not conveying information on behalf of a client at that



10
  Indeed, this is precisely the type of evidence that caused former President Trump to inflame a
portion of the public by claiming that “[i]n a stronger period of time in our country, this crime
would have been punishable by death.” See, e.g., Dkt. No. 36, ¶ 5 (citation omitted).


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meeting. See, e.g., United States v. Manafzadeh, 592 F.2d 81, 88 (2d Cir. 1979) (rejecting Rule

404(b) evidence proffered as indicia of a “plan” where the other act “occurred some four months

. . . after the crime[] alleged in the indictment [was] not part of ‘a connected or inseparable

transaction’” and was instead “wholly unconnected” (citation omitted)). The Special Counsel is

simply trying to throw into the record as many allegations of misconduct as possible in the hopes

that something will stick.

       This is improper, and the Special Counsel cannot be permitted to do so. Allowing the

Special Counsel to offer all this additional evidence and argument regarding the meeting with

Agency-2—which is not a meeting that is the subject of any pending charge—would only serve to

confuse the jury, risk prejudicing Mr. Sussmann, and create the kind of sideshow that neither Rule

404(b) nor Rule 403 permits.

       D.      The Court Should Preclude any Evidence or Argument Regarding Mr.
               Sussmann’s HPSCI Testimony Aside from Relevant Statements Regarding his
               Meetings with the FBI or Agency-2.

       The Special Counsel also intends to offer evidence of certain statements contained in Mr.

Sussmann’s testimony before HPSCI: specifically that, as part of his testimony, Mr. Sussmann

“a[c]knowledged bringing the allegations to the FBI and Agency-2 on behalf of a specific client,

namely Tech Executive-1.” Original Notice at 2. Mr. Sussmann does not object to the introduction

of this specific testimony, although Mr. Sussmann does disagree with the Special Counsel’s

characterization of that testimony.

       But Mr. Sussmann does object to the Special Counsel’s announced intent to introduce

evidence and argument that Mr. Sussmann purportedly “avoided mention of the fact that the only

client billed for the defendant’s pre-election work on those allegations was the Clinton Campaign.”

Suppl. Notice at 4. This claim is ludicrous. The Special Counsel has not identified a single

question put to Mr. Sussmann by members of Congress or their staff that would have called for a


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responsive answer concerning the Clinton Campaign. Nor has the Special Counsel identified any

free-standing obligation Mr. Sussmann had to volunteer this information when testifying before

HPSCI. The Special Counsel should not be permitted to make fanciful arguments suggesting that

Mr. Sussmann was required to testify that he billed time to the Clinton Campaign during 2016

when the Special Counsel can identify no such requirement. As a result, the Special Counsel

cannot establish the necessary predicate for introducing such evidence or arguments pursuant to

Rule 404(b). See, e.g., Griggs, 2004 U.S. Dist. LEXIS 23695, at *4-5 (“[T]he trial court is required

to make preliminary determination as to whether the jury could reasonably find by a preponderance

of the evidence that the alleged prior act did, in fact, occur.”).

        E.      The Court Should Preclude any Evidence or Argument Regarding the Perkins
                Coie Statements, Aside from those Statements Themselves or Any Of Mr.
                Sussmann’s Statements Prompting Them.

        Next, the Special Counsel seeks to admit two statements issued by Perkins Coie to the

media in October 2018. Suppl. Notice at 2. Mr. Sussmann does not object to the introduction of

those statements or evidence regarding the role he played in causing them to be made, although

Mr. Sussmann once again disagrees with the Special Counsel’s characterization of these

statements.11




11
   For example, the Special Counsel asserts that the statements sought to conceal the involvement
of “politically motivated parties” or to obscure the Clinton Campaign’s role. Not so. The
statements were issued to rebut misleading reporting by the media that resulted from a leak of Mr.
Baker’s Congressional testimony in early October 2018. Simply put, numerous media outlets
misrepresented Mr. Baker’s testimony and suggested that the information Mr. Sussmann provided
to Mr. Baker was used as the basis for an application to the FISA Court for electronic surveillance
of Carter Page; and that Mr. Sussmann was the “point man” for Perkins Coie’s DNC and Clinton
Campaign accounts, amongst other erroneous assertions. See, e.g., Strassel, supra note 2. These
statements were not true, and Perkins Coie’s statements attempt to clarify that false reporting
cannot be divorced from that context.


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       However, Mr. Sussmann does object to the Special Counsel’s intent to offer opinion

testimony from others, including the Managing Partner of Perkins Coie, that the statement may

have been false or misleading. Such testimony plainly runs afoul of well-settled law which

provides that the credibility, accuracy, and truth or falsity, of any statement is the provenance of

the jury, not lay witnesses. Indeed, as this Court’s jury instructions make clear, “a witness may

not testify as to his or her opinions or conclusions.” Cooper Jury Instructions at 9; see also United

States v. Savage, 970 F.3d 217, 285 (3d Cir. 2020) (explaining that the Third Circuit’s model jury

instruction on lay witness testimony provides that “[w]itnesses are not generally permitted to state

their personal opinions about important questions in a trial” (citation omitted)). Thus, any

evidence or argument as to the credibility of those statements falls outside the parameters of

permissible lay witness testimony that Perkins Coie’s Managing Partner may provide and must be

rejected as more prejudicial than probative pursuant to Rule 403.

       F.      The Court Should Preclude all Evidence and Argument Regarding Mr.
               Sussmann’s Purported Failure to Preserve Certain Text Messages,
               Purportedly in Violation of Perkins Coie Policies.

       Finally, the Special Counsel seeks to introduce evidence that he recently received from Mr.

Baker. Specifically, on March 4, 2022, Mr. Baker apparently retrieved from his personal phone

copies of text messages that he had sent and received with Mr. Sussmann between 2016 and 2020.

According to the Special Counsel, the text messages had been stored on the cloud and Mr. Baker

had not thought to produce them earlier. (Apparently, though Mr. Baker is a key witness in the

case, the Special Counsel never saw fit to serve him with a subpoena.) Those text messages

include, among other things, texts indicating that Mr. Sussmann asked to meet with Mr. Baker in

September 2016 not on behalf of a client but to help the Bureau; texts indicating that Mr. Sussmann

told Mr. Baker he had to check with someone (i.e., his client) before giving him the name of the

newspaper that was about to publish an article regarding the links between Alfa Bank and the


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Trump Organization; and other texts, including a copy of a tweet that then-President Trump posted

regarding Mr. Sussmann.

       The Special Counsel argues that Mr. Sussmann failed to preserve these text messages in

violation of Perkins Coie policy and that this purported violation of the policy gives rise to an

inference that Mr. Sussmann intended to obstruct justice. See Original Notice at 2-3. This is false.

And the Special Counsel’s willingness to level this explosive allegation without even bothering to

first obtain copies of the relevant Perkins Coie policies they accuse Mr. Sussmann of violating—

policies that, on their face, do not require the preservation of the texts at issue—is nothing short of

shocking.

       First, and most importantly, there was no violation of any Perkins Coie policies. The

Special Counsel made that salacious allegation without performing the most basic diligence prior

to making such allegations, i.e., getting a copy of the relevant policies. Indeed, when the defense

asked the Special Counsel for copies of the policies that Mr. Sussmann allegedly violated, the

Special Counsel indicated that they did not have them. Nor did the Special Counsel produce them

to the defense in response to its request. The defense procured copies of the policies only by

requesting that the Court issue a time-sensitive subpoena to Perkins Coie pursuant to Rule 17(b).

       Thereafter, Perkins Coie provided three policies in response to Mr. Sussmann’s Rule 17(c)

subpoena and tellingly, none of the policies required the preservation of any of the text messages

that Mr. Sussmann sent from his personal cellphone to Mr. Baker’s personal cellphone. One policy

concerns the retention and destruction of client records but says nothing about the type of records

requiring retention, except where explaining that “[l]awyers should avoid retaining fragmentary

handwritten notes that later could be misconstrued or taken out of context.” Perkins Coie Retention

& Destruction of Client Recs. at PC_MS000003. The second policy concerns the transfer and




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release of client files, but also says nothing about the type of records requiring retention. See

generally Perkins Coie Transfer & Release of Files at PC_MS000013-18. And the third policy

concerns the retention and destruction of electronic client records for all matters. See generally

Perkins Coie Retention & Destruction of Elec. Client Recs. for All Matters at PC_MS000011-12.

That policy too says nothing about the retention of records such as those in question here. The

policy on its face only applies to emails, not to other forms of electronic records such as text

messages. Id. Moreover, that policy makes clear that the only email communications that have to

be preserved are “significant communications about a client’s legal matters.”                  Id. at

PC_MS000011. The policy explicitly provides that emails regarding scheduling, for example, do

not rise to the level of a “significant communication” and would not, therefore, trigger the policy’s

retention requirements. Id. Thus even if the policy applied to text messages—and it did not—the

policy would not have required Mr. Sussmann to preserve copies of his text messages with Mr.

Baker.

         Because the Special Counsel cannot establish the existence of any policy that required Mr.

Sussmann to preserve his text messages with Mr. Baker, the Special Counsel cannot argue that

Mr. Sussmann violated any firm policy. And because Mr. Sussmann did not violate any firm

policy, he cannot be permissibly accused of having obstructed justice where he was under no

obligation from any source—Perkins Coie, the Special Counsel, or anyone else—to preserve his

text messages with Mr. Baker. See, e.g., Caesar, 2022 U.S. Dist. LEXIS 14722, at *18 (“In order

to admit evidence of a prior act under . . . Rule 404(b), there must be evidence from which a jury

could find by a preponderance of evidence that the prior act occurred.”).

         Further, there are no other indicia of obstruction of justice. As we told the Special Counsel

several weeks ago, there is a routine explanation as to why Mr. Sussmann did not have those text




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messages in his possession: he replaced his personal device in November 2016 and did not store

his text messages on the cloud. In any event, Mr. Sussmann was never asked to produce those text

messages, nor was he ever under any sort of obligation—legal or otherwise—to otherwise retain

them. If anything, Mr. Sussmann has been comprehensive in his record retention practices, as

evidenced by the communications and billing records that the Special Counsel seeks to use against

him at trial. And, the text messages in question included exculpatory material that Mr. Sussmann

did not retain possession of. Given these facts, it is simply absurd to suggest that Mr. Sussmann

in any way obstructed justice.

       Here, there is no evidence that Mr. Sussmann violated any policy; there is no evidence that

Mr. Sussmann obstructed justice; and the Special Counsel’s unfounded allegation—made without

conducting any due diligence—is unprofessional, shocking, and slanderous.

                                         CONCLUSION

       For the foregoing reasons, Mr. Sussmann requests that this Court exercise its discretion

and preclude the Special Counsel from offering any evidence or argument concerning: (1) the

gathering of data by Mr. Joffe and Others; (2) the accuracy of the data gathered by Mr. Joffe and

Others and the conclusions drawn therefrom; (3) anything other than Mr. Sussmann’s own relevant

statements during a February 9, 2017 meeting with Agency-2; (4) anything other than relevant

statements made by Mr. Sussmann during his December 2017 HPSCI testimony; (5) anything

other than the specific statements issued by Perkins Coie and its Managing Partner in October

2018 or Mr. Sussmann’s statements prompting them, if any; and (6) Mr. Sussmann’s purported

failure to preserve certain text messages from the relevant time period in violation of Perkins Coie

policies. Additionally, portions of the Indictment that correspond to the foregoing categories of

evidence must be stricken. See Def. Mot. in Lim. Regarding Data or Steele Dossier. None of this




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evidence has any place before the jury—whether offered as part of the Special Counsel’s case in

chief, for impeachment purposes, or on rebuttal—and it must be rejected.

Dated: April 4, 2022                           Respectfully submitted,

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